                                      15-10243-mg             Doc 60-4 Filed 03/26/15 Entered 03/26/15 17:59:06                                    Exhibit 2 to
                                                                      the Feltman Declaration Pg 1 of 1                                                                             EXHIBIT 2




                                              Robert Cassera
                                                                                                                                                Other / Unidentified
Tri-State Employment
       Services
                            TS Employment
                                 Inc.
                                                     Regal USA
                                                     Construction
                                                                         Broadway
                                                                         Wallboard
                                                                                            Corporate Resource
                                                                                             Services (“CRS”)                                       Affiliation
                                                                                                                                      •    Tri-State Solutions Inc.   •    Today's PEO Inc.
       Tri-State                                                                 Diamond                    Insurance
       Employer                                                                  Staffing                    Overload
       Services                                                                                                                       •    Tri-State Entertainment    •    National Payroll
                                                                                 Services                    Services
                                                                                                                                           Production PEO, Inc.            Service, Inc.
      Broadway                                                                                                                        •    Solutions H2 Corp.         •    Justin & Brooks, Inc.
        PEO                                                                                                  Corporate
                                                                               Accountabilities              Resource
                                                                                                          Development Inc.            •    Tri-State Staffing, Inc.   •    R & D Metro, Corp.
       Carusso
       Staffing                                                                  TS Staffing                Integrated                •    Tri-Diamond Staffing Inc. •     A Temporary Staffing
                                                                                Services, Inc.           Consulting Group                                                  Inc.
                                                                                                                                      •    Tri-State CRM, Inc.        •    Administrative
      STS Group
                                                                                Flex Recruitment          The CRS                                                          Support
                                                                                    Plus (UK)             Group Inc.                                                       Management, Inc.
                                                                                                                                      •    D&D Staffing Corp.         •    CRS Group of
     Tri-State SC
                                                                                                               Summit                                                      Delaware
                                                                                                               Software               •    D&D Staffing of New        •    Insurance Overload
                                                                                                                                           York, Corp.                     Staffing
     Tri-Odyssey
                                                                                                                 Nationwide           •    TS Staffing Corp.          •    DC Restaurants,
                                                                                                             Screening Services                                            LLC
       Tri-State
        North                                                                                                                         •    Tri-Overload Staffing Inc. •    Kevlar Solutions, Inc.
                                                                                                              The CRS Group
       Carolina                                                                                              Managed Services
                                                                                                                 Provider             •    Shcarizo Restaurant        •    R & D Staffing Inc.
                                                                                                                                           Group, Inc.
       TSE-PEO

                                                                                                                                      •    Tri-State Personet Corp.
           Tri-Tel
        Communications

   Source: Entities as identified through Lexis Diligence search of Robert Cassera and organizational materials believed to have been created by CRS.
   Affiliations as identified on various organizational charts.
